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                         IN THE UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

     LINDSEY K. SPRINGER,                           )
                                                    )
                    Plaintiff,                      )
                                                    )
     vs.                                            ) Case No. 06-CV-156-GKF-FHM
                                                    )
     DOUGLAS HORN, Individually;                    )
     MELODY NOBLE NELSON,                           )
     Individually; BRIAN SHERN,                     )
     Individually; and 10 Unknown Agents            )
     of the Internal Revenue Service,               )
     Individually; and Others Unkown,               )
     Individually,                                  )
                                                    )
                    Defendants.                     )

                 DECLARATION OF IRS SPECIAL AGENT BRIAN SHERN

            I, BRIAN SHERN, declare that:

             1. I am a duly commissioned Special Agent with the Criminal Investigation


     Division of the Internal Revenue Service with post of duty in Tulsa, Oklahoma. I have

     been a Special Agent since Februar 1 1,2005.

             2. This Declaration is being executed in support ofthe individual federal


     defendants' motion for sumar judgment in the above-captioned civil action. I am one

     of the defendants in this civil action.

             3. Except where specifically noted to the contrary, I have personal

     knowledge of the facts set forth in this Declaration, and, if called upon to testify to said

     facts, could do so competently.

             4. As a Special Agent with the Internal Revenue Service - Criminal


     Investigation, I have the authority to perform all duties conferred upon such officers




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     under all laws and regulations administered by the Internal Revenue Service, including

     the authority to investigate, execute and serve search warants and arest warrants, make

     arests without warant, cary firears, make seizures of property subject to forfeiture

     and to require and receive information, as to all matters relating to such laws and

     regulations.

                 5. On or about April 26, 2005, I was assigned as the case agent to conduct an


     investigation of         Lindsey Springer for allegations of                      violations of        Title 26, United States

     Code, including tax evasion and failure to fie income tax returns. On September 15,

     2005, I presented an application and affdavit for search warant to search Springer's

     residence in Kellyvile, Oklahoma, to United States Magistrate Judge Frank H.

     McCarhy. On the same date, Magistrate Judge McCarhy signed a search warant to

     search Lindsey Springer's Kellyvile, Oklahoma, residence. A true and correct copy of

     the Search Warant (including Attachments A and B thereto) is attached to this

     Declaration as Exhibit 4.

                          The execution of the search warrant on September 16, 2005

                 6. The authority of Special Agents of the Internal Revenue Service -


     Criminal Investigation to execute search warants is set forth in section 7608(b) of                                      the

     Internal Revenue Code (26 U.S.C.). On September 16,2005, I and ten other Special

     Agents with the Internal Revenue Service - Criminal Investigation executed a search

     warant signed by U.S. Magistrate Judge Fran H. McCarthy on September 15,2005,

     with respect to the personal residence of                        Lindsey K. Springer in Kellyvile, Oklahoma.

                 7. I arived at Lindsey Springer's residence in Kellyvile, Oklahoma at


     approximately 8:20 a.m. on the morning of                             September 16,2005. At the outset of               the




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     execution of           the search warant, I explained to Mr. Springer that we were conducting a

     search of        his residence in accordance with the search warant signed by Magistrate Judge

     McCarhy on September 15,2005. I showed Mr. Springer a copy of
                                                                                                        the search warant.

     To ensure the safety of                  both Mr. Springer and the IRS Special Agents who were assigned

     to assist me in the execution of                  the search warant, Mr. Springer was asked if             any

     firears or weapons were located in his home.


                    8. In the presence ofIRS Special Agent Donald G. Shoemake, I asked Mr.


     Springer if         there was a more private place where we could speak to him. Mr. Springer

     led Agent Shoe.make and myself to an upstairs bedroom where we interviewed Mr.

     Springer from approximately 8:27 a.m. to approximately 11 :20 a.m.

                    9. At the conclusion of                   the search on September 16,2005, all of          the evidence

     seized from Lindsey Springer's residence was placed in the back of Supervisory Special

     Agent Wiliam R. Taylor's vehicle to be transported back to the IRS-CI Office in Tulsa,

     Oklahoma.

                                        The seized currency is counted at Arvest Bank

                    10. After contacting IRS Special Agent Mark Parsons, a forfeiture specialist, it

      was decided by Supervisory Special Agent Taylor and myselfthat the currency seized

      from Mr. Springer's residence would be taken to a ban and converted into a cashier's

      check.

                    11. Upon leaving Springer's residence in Kellyvile, Oklahoma, Supervisory

      Special Agent Taylor and myself traveled to the Arvest Ban located at 10615 E. 815t

      Street in Tulsa, Oklahoma. Once we arrived at the Ban, we informed the branch

      manager, Julie Powders, that we needed to obtain a cashier's check.




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                 12. We gave the sealed evidence bag containing the currency seized from

     Springer's residence to Ms. Powders, who gave the evidence bag to a teller on duty to

     count the cash using a curency counting machine. The teller opened the evidence bag in

     order to count the curency seized from Springer's residence, and counted it using a

     counting machine.

                 13. The teller who counted the currency contained in the evidence bag


     informed Supervisory Special Agent Taylor and myself                            that there was $17,000 in the

     evidence bag. We requested the teller to count the curency a second time, which she

     did. The count of            the currency again came to $17,000.

                 14. We requested a check for $17,000, which we obtained from the teller who

     had counted the curency. The $17,000 cashier's check was subsequently given to

     Special Agent Parsons to deposit.

                             Springer's motion for the return of currency and car titles

                 15. After            the execution of           the search warant on September 16,2005, I was

     informed that Mr. Springer had fied a motion from the Court for the retur of                          the

     curency and car titles seized from him on September 16, 2005. I was also informed that

     AUSA Nelson had responded to Mr. Springer's motion for the retur of                              the currency and

     car titles, and that the District Court had denied Mr. Springer's motion.

                  16. After the Cour denied Mr. Springer's motion for the retur of                         the

     currency       and car titles, I was instructed by Assistant United States Attorney Douglas

     Horn to return the seized curency and car titles to Mr. Springer. I then made a request to

     Robin Bryant, a forfeiture specialist, to obtain the $17,000 to give back to Springer.




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            17. On Januar 10,2006, after I obtained a $17,000 Treasury Deparment

     check from Robin Bryant, I went to Springer's house in Kellyvile, Oklahoma, to give

     him the $17,000 Treasur check. A true and correct copy ofthe $17,000 Treasury check

     is attached to this Declaration as Exhibit 5

             18. After tendering the $17,000 Treasury check to Springer, I asked him to


     sign an Internal Revenue Service Release of Claim (hereinafter, "Release of Claim"). I

     wrote the handwritten words and figures that appear on the Release of Claim. A true and

     correct copy of the Release of Claim signed by Lindsey Springer in my presence (and

     myself as witness), is attached to this Declaration as Exhibit 6.

             19. I was not present for the search of Mr. and Mrs. Springer's first-floor


     master bedroom, or the seizure of the curency pursuant to the search warant issued by

     U.S. Magistrate Judge Fran H. McCarhy on September 15,2005. My sole involvement

     with the curency seized from Springer's residence was to take it, in a sealed evidence

     bag, to the Arvest Ban for counting.

             20. I did not steal any money from Lindsey K. Springer, or enter into any


     agreement or conspiracy with former Assistant United States Attorney Melody Nelson,

     Assistant United States Attorney Douglas Horn or any IRS Special Agent, or anyone else,

     to steal any money from Lindsey Springer.




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                                                        CERTIFICATION

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of                      perjury that the foregoing

     is true and correct.

             Executed on November ~ ~, 2007.



                                                                               ¡g.. $.
                                                                         BRIAN SHERN
                                                                         Special Agent
                                                                         Internal Revenue Service




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                                    CERTIFICATE OF SERVICE

         IT IS HEREBY CERTIFIED that service of the forgoing DECLARATION was filed

  with the Clerk of the court electronically today, July 14, 2008, such that a service copy was sent

  by way of the electronic filing system to the plaintiff and all counsel who have arranged for

  electronic service of filings




                                                       /s/ Robert D. Metcalfe
                                                       ROBERT D. METCALFE DC #423163
                                                       Trial Attorney, Tax Division
                                                       U.S. Department of Justice
                                                       P.O. Box 7238
                                                       Ben Franklin Station
                                                       Washington, D.C. 20044
        .. .~,..
        .
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t. . . Ad g3: (Rev. 5/85). Search Warrant




                                      U"nlted,'.Sta:tes .DrstricfCou:rt-.                        ..,..
                                                    NORTHERN                                           District of                      .OKLAHOMA'

    In the Matter             of     the Search of                                                              SEARCH:WARRANT
    Name,.   address   Dr brief descriptiDn of persDn, propert Dr premise to' be searched) ,


                   Pr.emises known          as: "                                                               CaseN
                  25758 South  201 st WestAvenue
                 'Kellyvile, Oklahoma


    To: Brian M. Shern and any

                                     , ' .     Authorized       Offcer      of   the United:States:




                                        , ,
  . Affdavit(s) having been made                    before me by Brian M. Shem, who has reason to                         believe that on the premises known as. '.

                  SEE ATTACHMENT Ä- LOCATION                                TO BE SEARCHED, ATTACHED                        HERETO AND MADE A PART               HEREOF
                  BY REFERENCE


                                     . .' . . .
   . in the Northern District of Oklahoma, there                         is now contealedcertain propert, iia'mely

                  SEE ATTACHMENTB - ITEMS TO BE SEIZED, ATTACHED HERETO AND

                  REFERENCE
                                                                                                                                            MADE A PART HEREOF BY'



    I am satisfied 'that the affdavil(s) and any recorded testimony establish probable cause to believe that the. person or
    property so described is now concealed on the person or premises above-described and establish grounds for the'
    issuance of this warrant. ,
    YOU ARE HERESY COMMANDED to search on or                                       before .            ., - ,z5'-(J s ,
                                                                                                                                     Date
    (not to exceed 10 days) the person or place named above for the person or property specified, serving .this warrnt and'
    making the search (in the daytime-'6:00' A.M: to1 0:00 P.M.) and' if the person or propert to be. found
                                                                                                                                                            there to., seize
    same, leaving, a copy of              this warrant and receipt               for' the person or propert taken, and prepare                   a written inventory'of:the
    person or property seized and                   promptly return this warrant to Magistrate Judge Frank H. McCarthy as' required bylaw.




     ?~ / í;"d.l .                         Y:øIPA.
                          Date and Time Issued                                        at                                         Tulsa, Oklahoma

   . Frank H. McCarthy, U.S. Magistrate.Judge

               Name and        Title of Judicial Officer




                                                                                                                                                       EXHIBIT
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'r- ."


                                                                         . ATTACHMENT A

                                                             LOCATION TO' BE SEARCHE:D

          Two~story residence and curtilage, surrounding                                          outbuildings,       appurtenances, bus~s, .

         . autorrobiles, and propert (including locked containers). of LINDSEY SPRINGER

          located at         25758 SOUTH 201sTWESTAVENUE, KELLyviLLE, OKLAHOMA, 74039',

          more specìficaHy              described            as follows:

                       Atwo-story residence locatedonthe'~estside of                                              South 201st West

                       Avenue. The entrance ofthe residence faces northeast. The residence is .
                    . made of reddish-brown colored brick with light colored grayish siding

                       covering the majority of the front of the residence. The door and windows

                       of the residence are white. There is an unattached two-car garage. and

                       two small outbuildings                  that are perpendicular to the residence and                        face

                       southeast. South 201stWestAvenue is riot identifieçl with a                                         street sign. It

                       is 1.2 miles west of the turnpike gate on State.Hig.hway 33, which can be

                       accessed from                exit number211 off               the Turner               Turnpike, headed.

                  . westbound from Sapulpa. Adjacentto the entrance or                                                South 201st West

                       Avenue from State Highway 33 is a gray mailbox on a wooden                                             post with


                       the numbers "12244". The residence located at 25758 South 201st West

                       Avenue is approximately one: quarter-mile on South 201st West Avenue

                       from this mailbox.



         Atlaèhed is a map showing the location of the residence, a satellte photograph of .

         the residence.and surrounding area, and some                                         photographs of            the residence and

         the mailbox adjacent to the road:leading up to the residence.


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          II                                                 ,-.;~,~.¡j .                                           Map.

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                                                                            ATTACH.M:E'N.T B




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                                                                    iTEMS          TO        BE,.   SEIZED .




                     . ,-'.
                    Based'onlhefòregoingo: ¡. respectfully submit that there is probable cause tò believe


               .
                   ,, .,.'
                        .. ....
                   thatthefollowing items, which                            constitute evidence of violations of Title.26, United.

                                         Sections 7201 and 7203, will be found at the location describedih .:


                          ..
                    States Code




                   AttachmentA inindividuäl' and business names                                         including,    but not limited to

               . LINDSEY SPRINGER, OSCAR STILLEY, and BONDAGE                                                          BREAKERS

                   MINISTRIES: All of                the items to             be seized as          referenced       below are       for   the year

                   ,beginning January 1,.2000' th rough the execution of the warrant                                             including: the

                   following:

                   .1. Client billng records, fee schedules, contracts foremployrrerit, estimates for.

                                              '. '
                         services, filed courtdocuments, and correspondence (opened and unopened)

                         relating to




                   2. Currency           and monetary.
                                                             , '
                                          the above referenced                    items;

                                                                  instruments including cashier's checks, receipts                             of

                         cashiets checks; money orders, traveler's                                  checks, and other monetary

                         instruments;

                   3. Sank records including bank statements,. deposit tickets, cancelled checks, debit

                        and credit memos,. reco.rds of wire transfers, and records of safe deposit box'

                        rental and entry, financial statements, and correspon~ence (open and unopened)

                     _ with banks and financial institutions;

                   4. Financial records including                      tax returns, documents relating to the preparation of

                        his tax returns, documents related to the purchase and sale of automobiles or



                                                                                                                                            Page 1 of 5
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                       ,
                       .. ..
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                      ...
                           ..
                            ...".
            . other vehicles or
                                                                   .'. . .'
                                            machinery, documentation of business




             dòcume'ntation of' other expenses,
                                                                                              expenses,
                                                                         documentation of personal expenditures., arid



                     .. ...'.       ,.,'.
                          '... ,.~...     .'
                                        ,..
             credit card records; .

     .5. Financiafstatement records including.'books, ledgèrs,-notatioris, 'memoranda,

                                             disbursements journals; general journals, accounts receivable


                                  ..', .'
             cash receipts and




           . and payable ledgers, general                       ledgers, balance sheets, profit and loss statements, .

             and income distribution statements;

       6.. Loan records from.                 any source whatsoever and payments relating thereto, as. well

                                                                                                          the


                    . .. .'.., .
             as loan applications, financial statements, and documents related to




             attinment of loans;

       7. Address and/or telephone. records reflecting names, addresses;- and/or telephone

             numbers;

       8. Property records including documents related to the purchase and sale of real

             estate;


         , .
       9. .' Records of mailbox or drop box rentals;

       10. Records of storage ren~als;
                                                                                   . '
       11. Rental or lease agreements of real property, autos, electronics, equipment, and

             machinery;

     . 12.As used above,..              the, terms records, documents; or statements inClude records,

            documents, or statements created., modified,or stored in any form.

       13.ln searching for data capable of being read, stored or interpreted by                           a computer,

            law enforcement personnel                       executing this search warrant wil employ the

            following procedure:




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" .


                                                                 .....
                                      . .. .'~
             a; Upon securing, the p'remises, lawenforcememt personnel trained in




                                       ., ... .".
                   s,earching and sèizing computer data.                                 (the "computer personnel").wiI make '"

                   aninitial review              of any computer                 equipment and storage           devices to


                   determine          wheth       er     these       items     can be searched           on-site ina reasonable ,,'

                                                                                                                       the data.




                                  .. , ' ,
                  amount oHime and wittloUlje~pardizing the abilty to preserve




                                                 equipment and storage devices cannot be searched on- , .'
                  . . .
            . b~ lfthe computer




                  'siteina reasonable amount oftimè, then the computer personnel wll '

                  determine whether it is practicßi to copy the                                    data during the exeGution of

                  the search in a reasonable amount of time without jeopardizing the abilty

                  to preserve thedata~

             c. If the'computer personnel detemiirie ¡tis not practical to perform
                                                                                       ..                                 an on-


                  site search or make an on-site copy of the. data within a reasonable

                  amount of time, then the computer equipment and storage devices wi.1I be

                  seized and transported to an appropriate law enforcement laboratory                                              for

                  review. The                 computer equipment and storage devices wil be reviewed by

                . appropriately trained personnel in order to extract and seize any data                                           that
                  falls within        the list         of items to           be seizèdsetforth herein.

             d. In searching              the data, thecomputerpersonnelniayexamine all of                                  the data

                 . contained' in the computer equipment and storage devices to view their

                  preCise contents and determine whether the data falls within the items to'-

                  be seized as set forth herein. In addition, the computer personnel may

                  search for and attempt to recover "deleted," "hidden" or encrypted data to




                                                                                                                       Page 3 of         5, '
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                                         .'
                                         ." -.,"'
                                               ... . .
"     ".- ":'.
'.., '. ....

                                              ..."   ""
                                 . determinewhèther the data                       faiis within the list of items to                 be s.eizedas set


                                  forth herein.
                                                     - . . . .
                           'e. If the com puter personnel determine that the data does not fal.1 within ány

                                  of the items to             be seized purs.uant to this warrant or is not otherwise

                                .'Iegally seized, the government                        will retumthese items'                 within a   reasonable


                                             , ' .
                                  period of time notto exceed                      60 days from the date of seizure unless ·




                          ....'.I. .
                                . furthsr authorization                 is obtained from the court~


                 14.ln 'order to search for data that is capable                                of being read or. interpreted by             a

                      computer, 'law enforcement p.ersonnel wil need tb seize the following, items,.

                      subject to the procedures set forth                          above:

                           a. . Any computer                  equipment and.          storage        device capable of being used to

                                 commit, furtheror store eviden'ce ofthe offense listed above; .

                           b. Any computer equipment used to faciltate the transmission, creation,
                                : display,     encoding. or storage of data, including word processing

                                 equipment; modems, docking stations, monitors, printers, plotters,


                                . .
                                 encryption devices, and                       'Optical scanners;

                           c. Any magnetic, electronic or optical storage device capable of storing data,.

                                 such as       f1oppydisks,              hard disks, tapes, CD-ROMs, CD-R, CD-RWs,

                                 DVDs, optical disks, printer or memory buffers, smart. cards, PC cards,

                                 memory calculators, electronic dialers, electronic notebooks, and personal

                                digital assistants;

                           d. Any documentation,. operating logs and reference manuals regarding the


                                operation of the computer equipment, storage devices or softare;




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                                                                                                                                         '.';



~ ."' . .




                                                         ,." ...'.
                                                        .'.
                                                      . .,     '" .
                        e: Any ap'pHcations, utility programs~ compilers, interpreters, and other

                                                                               director indirecfcommunication with the



                                      ...,.' ....'    .
                             softare. used to             'facilitate




                                                                                              or data to be searched; .


                                               ,'
                                                .' ',
                           . computer hardware, storage devices




                        f..' Any physicál: keys, encryption devices; dongles and similar physical'                            items


                                     ,.
                            'that arefiecessary to




                                       - '
                             devices or data; and "
                                                                        gain accessto the.       computer   equipment, storage



                        g. Any passwords', password                             files,




                             information necessary to access the,computer equipment, storage devices
                                                                                                                             ..
                                                                                         test keys, encryption codes or other.



                             or data.




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                    IRS7505006401
                    55863798 CURRENCY REFUND




                                                                                EXHIBIT

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                                                                                      Seizue Case Number
                                                                                   Evidence .:$500 Number:
                                                                                                  Afak Num

                                            INTERNAL REVENUE SERVICE
                                                RELEASE OF CLAIM

  This agreement is made between
       ¿"/N~.I K. ~lJlllli6£¡¿                                                      51A7 SDt-h N4l-_, #11'.1 T';t-ôK
                   (Name)                                                                                       (Address)


  and the Internal Revenue Service of                        the United States Departent ofthe Treasur. This
  agreement is made in consideration of                         the retu of:

 ~ 1"1.. 000.00 tJ. t;.


                                                                   (Description of Propert)

  registered t%wned by:
    LIAI/JGY
          .  K. L~,e INl,I!/l                                             s il,7 66"" HN'.J4r) i "/It. . rJ/~i () K
                                                                     (Name and Address)

   which was seized pursuant to Title 18 U.S.C. Section 981 or 982/Title 26 U.S.c. Section 7302 in
   the course of a criminal or civil investigation, and for other consideration, the receipt of
                                                                                                which is
   hereby acknowledged.

   Being the OWNER AND/OR AUTHORIZED AGENT of
                                                                                               the property as evidence by a
                                          (Type of interest)

   f
    Mi/~b ,4~fe.~ìdA
                                                            (Title, Registration, Contrct, NDte, Etc.)
   dated D#I II" I z.oo
   The registrant/owner hereby agrees to unconditionally release and hold harless the Internal
   Revenue Service, its offcers, employees and agents, from any and all claims, demands, damages,
   causes of action or suits, whether in offcial or individual capacity, of
                                                                            whatever kind and
   description, and wheresoever situated, that might now exist or hereafter exist by reason of, or
   growing out of, or affecting, directly or indirectly, the seizure, custody or return ofthe above-
   described property.
                                                                                                                                   EXHIBIT
   Executed this                  10th                day      of J:""VAl'                         , 20 oro                            6




                                                                         /2/~~. ~
                                                                   ._. ./...
                                                                                                     Signature of   Witness
                                                                                                                              ..




                                                                                                                                     15
